         Case 24-90533 Document 1504 Filed in TXSB on 02/21/25 Page 1 of 2




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


                                                 Chapter 11 Case No.: 24-90533 (ARP)
In re:
                                                 ORDER GRANTING MOTION TO LIFT
  WELLPATH HOLDINGS, INC., et al.                AUTOMATIC STAY

   Debtors.

                                                 The Honorable Alfredo R. Perez



ORDER GRANTING DEBORAH WAGNER’S MOTION TO LIFT AUTOMATIC STAY


         After coming before the Court on February 18, 2025, Deboarh Wagner’s Motion to Lift

Automatic Stay (Docket No.: 589), is hereby ruled upon as follows:

         1.     The automatic stay be immediately lifted in the matter of Deborah Wagner v.

Wellpath Management, Inc., et al, Case no.: CU0001661 with the Nevada County Superior Court

in and for the State of California (the “Lawsuit”) so that Plaintiff Wagner may proceed solely

against Wellpath Management, Inc.’s employment practices liability insurance.

         2.     The automatic stay imposed by section 362(a) of the Bankruptcy Code and

extended to Non-Debtor Defendants in the Lawsuit pursuant to the Amended Final Order

(I) Enforcing the Automatic Stay to Non-Debtor Defendants, and (II) Granting Related Relief

[Docket No. 1480] does not extend to claims or causes of action against Defendants California

Forensic Medical Group, Inc., George D. McKnight, County of Nevada, and Captain Mike

Walsh in the Lawsuit.
       Case 24-90533 Document 1504 Filed in TXSB on 02/21/25 Page 2 of 2




       3.     This Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Order.

IT IS SO ORDERED.



Dated: _________________, 2025                      ____________________________________
                                                          Hon. Alfredo R. Perez
       Houston, Texas                                     United States Bankruptcy Judge
